  Case 12-27642        Doc 33    Filed 11/20/12 Entered 11/20/12 14:30:40            Desc Main
                                   Document     Page 1 of 4



                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


In re:

DONAL MARTIN McDONAGH and
MICHELE RAWLS McDONAGH                               Case No. 12-27642 DSK

                Debtor.                              Chapter 13


                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY


         COMES NOW Trust One Bank, a division of Synovus Bank (hereinafter “Trust One”)

and in support of its motion for relief from the automatic stay provisions of 11 U.S.C. § 362

would show unto the court the following:


         1.     The Debtors herein, Donal and Michele McDonagh filed a Chapter 13 case on July

20, 2012. As will be described in detail herein below, Trust One is the holder of two claims secured

by the Debtors’ residence. The Debtors’ Chapter 13 Plan was confirmed by an Order docketed on

September 28, 2012. The Plan provides for payment to Trust One on its home mortgage claims

outside of the Plan.


         2.     Trust One is the holder of the August 29, 2007 Promissory Note from the Debtors

Donal and Michele McDonagh (“Note 1”). Said Note is secured by a Deed of Trust on the real

property which is the Debtor’s residence located at 2416 Sanders Ridge, Germantown, TN,

which Deed of Trust is recorded at Instrument No. 07136288 in the Register’s Office of Shelby

County, Tennessee. Said Note was modified by the Loan Modification Agreement dated June

30, 2008 as recorded at Instrument No. 08090271 in the Register’s Office of Shelby County,
  Case 12-27642        Doc 33     Filed 11/20/12 Entered 11/20/12 14:30:40              Desc Main
                                    Document     Page 2 of 4



Tennessee. Attached hereto as collective Exhibit A and incorporated herein by reference are

copies of the above-referenced documents.


       3.      The Loan Modification Agreement requires monthly installment payments of

$6,037.12. The Debtors are in default with the post-petition installment payments to Trust One

due October 1 and November 1, 2012.


       4.      Trust One is also the holder of the May 7, 2010 Promissory Note from Turas,

LLC d/b/a Bella Viaggia (“Note 2”). Said Note is personally guaranteed by the Debtors and is

secured with a Deed of Trust on the Debtors’ residence. Said Deed of Trust is recorded at

Instrument No. 10049133 in the Register’s Office of Shelby County, Tennessee. Attached hereto as

collective Exhibit B and incorporated herein by reference are copies of the above referenced

documents.


       5.      The Note from Turas, LLC requires monthly payments of $1,666.67 principal plus

accrued interest. Turas, LLC and the guarantor Debtors are in default with the monthly installment

payments to Trust One beginning with the June 15, 2012 installment payment, and all monthly

payments thereafter.


       6.      The balance due as of the Petition date under Note 1 is $578,884.18. The balance

under Note 2 as of the Petition filing date is $63,134.84. The Debtors’ Petition lists the value of the

residence as $689,200.00. After allowing for real estate commission, the Debtors do not have any

equity in the subject real property beyond the amounts owed to Trust One.




                                                  2
  Case 12-27642       Doc 33     Filed 11/20/12 Entered 11/20/12 14:30:40             Desc Main
                                   Document     Page 3 of 4



          7.    Trust One is not adequately protected while the Debtors continue in the use of the

residential property without maintaining the ongoing payments under the first and second mortgage

claims.


          WHEREFORE, PREMISES CONSIDERED, your moveant prays:

          1.    That Trust One Bank be granted relief from the automatic stay provisions of 11

U.S.C. § 362 to allow the bank to proceed with foreclosure or to pursue any other appropriate

legal remedy as to the real property located at 2416 Sanders Ridge, Germantown, TN; and


          2.    For such other further relief to which your movant may be entitled.


          Dated: November 20, 2012.

                                             Respectfully submitted,

                                             /s/ Douglas M. Alrutz
                                             Douglas M. Alrutz (BPR 11389)
                                             Wyatt, Tarrant & Combs, LLP
                                             1715 Aaron Brenner Dr., Ste. 800
                                             Memphis, TN 38120-4367
                                             Phone (901) 537-1000
                                             Fax (901)537-1010

                                             Attorneys for Trust One Bank, a division of Synovus
                                             Bank




                                                 3
  Case 12-27642       Doc 33     Filed 11/20/12 Entered 11/20/12 14:30:40           Desc Main
                                   Document     Page 4 of 4



                                CERTIFICATE OF SERVICE

        I here by certify that on the 20th of November, 2012, a copy of the foregoing was served
on the parties listed below by first-class mail, postage prepaid, unless said party is a registered
CM/ECF participant who has consented to electronic notice, and the Notice of Electronic Filing
indicates that Notice was electronically mailed to said party:

James D. Gentry                                     George W. Stevenson
Gentry Arnold & Mitchell, PLLC                      5350 Poplar Avenue, Suite 500
5100 Poplar Avenue, Suite 2008                      Memphis, TN 38119-3697
Memphis, TN 38137                                   Chapter 13 Trustee
Attorneys for Debtors

Donal and Michele McDonagh
2416 Sanders Ridge
Germantown, TN 38138-6144

                                             /s/ Douglas M. Alrutz
                                             Douglas M. Alrutz

60289546.1




                                                4
